                            LINITED STATES DISTRICT COURT
                      IN AND FOR ТНЕ NORTHERN DISTRICT ОF IOWA
                                   CENTRAL DIVISION


                                                )
Fraserside IP,   LLC,                           )
                 Plaintifl                      )
ч.)
                                                )
Igor Kovalchuk    d/b/a                         )         Docket No. 11-З040-МWВ
DrTuber.com, www.DrTuber.com, )
and John Does 1-100           )
and John Doe Companies 1-100, )
                 Defendants.                    )
                                                )


                             AFFIDAVIT ОF IGOR KOVALCHUK

       Igor Kovalchuk, being duly swоrп, does hеrеЬу depose and state:


        l.       Му паmе is Igor Kovalchuk. Unless otherwise stated, I make this affidavit of my

own personal knowledge.

       2.        I am а citizen and resident of Russia.

       З.        I manage technology fоr ERA Technologies, Ltd., а соmрапу which rs

incorporated in the British Virgin Islands.

       4.        ERA Technologies, Ltd. is the owner and ореrаtоr of the website

www.DrTuber.com.

       5.        I hаче been informed that I am named as the defendant in this actibn and the


complaint identifies me, individually, as "doing business as" www.DrTuber.com. This is

iпсоrrесt. As I have stated, above, www.DrTuber.com is owned and operated Ьу ERA

Technologies, Ltd.




      Case 3:11-cv-03040-MWB Document 14-11 Filed 11/10/11 Page 1 of 6
       6.       I understand that the complaint in this matter states that I own and operate


www.DrTuber.com. Again, this is incorrect. Although it is true that I аm listed as the contact

реrsоп for www.DrTuber.com in the Whols Registry, that is simply in my capacity as the

individual who manages technology for ERA Technology, Ltd. А current сору of the Whols

Registry data is attached to this affidavit.

        7.      I understand that the complaint also alleges that I hаче а business address in the


British Virgin Islands. This is not true. Although ERA Techпologies has а business address in

the British Virgin Islands, 1do not. Indeed, I have печеr ечеп visited the British Virgin Islands.

        8.      I have пеvеr been served with а сору of the complaint поr any оthеr papers in the

present action. As mentioned, I аm а citizen and resident of Russia. I understand that service оп

me has to Ье through the process outlined in the Hague Convention. No suсh service has been

made on me.

        9.      I understand that the Plaintiff has claimed that service was made on me Ьу leaving


а сору of the complaint and other documents at ERA Technologies         Ltd,'s address in the British

Virgin lslands. ERA Technologies Ltd.'s address is not my address, nor has it ечеr Ьееп so. As

I stated above, I have печеr even visited the British Virgin Islands.

        10. Even if ERA Technologies had been named as а defendant in this case - which it
has not _ I do not believe service would have been рrореr. ERA Technologies has а registered

office address at the business center in the British Virgiп Islands. Му understanding is that а

сору of the complaint was left with the business сепtеr's receptionist. The recepiionist is not an

employee, officer, director, оr agent of ERA Technologies - she is simply the person who greets

all visitors to the business center, no matter which соmрапу the visitor might Ье looking for.




       Case 3:11-cv-03040-MWB Document 14-11 Filed 11/10/11 Page 2 of 6
This receptionist is not authorized to accept service on behalf of ERA Technologies, Ltd. and, in

апу event, she has no connection whatsoever to me as ап individual.

       11. With respect to me, individually, I have печеr visited Iowa and have печеr
conducted any kind of business in Iowa. I do not have а telephone пumЬеr there; I have no

employees оr agents there; I do not own оr lease rеаl estate there; and I hаче no agent for the

service of process in Iowa.

       |2.     With respect to ERA Technologies, Ltd., even though it has not been named as а

defendant in this action, I аm аwаrе and informed that the соmрапу also has по connections with

Iowa. It does not maintain servers in Iowa (or anywhere within the United States), has no

telephone пumЬеr there, does not lease оr own real estate there, has no employees оr agents

there, does not advertise there, and has no agent for the service of process in Iowa.

       13. ERA Technologies Ltd. has а registered agent for the service of takedown notices,
pursuant to the Digital Millennium Copyright Act ("DMCA"). А сору of ERA Technologies

Ltd.'s DMCA agent registration is attached to this affidavit. I am informed that оur DMCA

agent has печеr received any takedown notices from the plaintiff Frasierside IP.

       Signed under the pains and penalties of реrjurу this 19th day of September, 2О1|.




                                                             ovalchuk




      Case 3:11-cv-03040-MWB Document 14-11 Filed 11/10/11 Page 3 of 6
Domain Name Whois - Search – Moniker SnapNames




                                                                                                                         SUPPORT      WHOIS       CART




                   Home               Find Domains                 Domain Auctions               Domain Brokerage   Domain Products     News & Resources   My Account




     Whois: Domain Name Search
                            Enter a Domain Name: drtuber.com
                                                                 e.g.   moniker.com

      The domain drtuber.com is [not available] [ This name may be for sale - Make an unsolicited offer ]

     Whois data for: drtuber.com
                                                                                      Domains For Sale
     Whois Server Version 2.0                                                         (fetching domains for sale list ...)
     Domain names in the .com and .net domains can now be registered
     with many different competing registrars. Go to http://www.internic.net
     for detailed information.

     Domain Name: DRTUBER.COM
     Registrar: MONIKER ONLINE SERVICES, INC.
     Whois Server: whois.moniker.com
     Referral URL: http://www.moniker.com
     Name Server: NS1.DRTUBER.COM
     Name Server: NS2.DRTUBER.COM
     Name Server: NS3.DRTUBER.COM
     Status: clientDeleteProhibited
     Status: clientTransferProhibited
     Status: clientUpdateProhibited
     Updated Date: 28- oct- 2011
     Creation Date: 06- aug- 2009
     Expiration Date: 06- aug- 2014

     >>> Last update of whois database: Thu, 10 Nov 2011 04:43:52 UTC <<<

     NOTICE: The expiration date displayed in this record is the date the
     registrar's sponsorship of the domain name registration in the registry is
     currently set to expire. This date does not necessarily reflect the expiration
     date of the domain name registrant's agreement with the sponsoring
     registrar. Users may consult the sponsoring registrar's Whois database to
     view the registrar's reported date of expiration for this registration.

     TERMS OF USE: You are not authorized to access or query our Whois
     database through the use of electronic processes that are high- volume and
     automated except as reasonably necessary to register domain names or
     modify existing registrations; the Data in VeriSign Global Registry
     Services' ("VeriSign") Whois database is provided by VeriSign for
     information purposes only, and to assist persons in obtaining information
     about or related to a domain name registration record. VeriSign does not
     guarantee its accuracy. By submitting a Whois query, you agree to abide
     by the following terms of use: You agree that you may use this Data only
     for lawful purposes and that under no circumstances will you use this Data
     to: (1) allow, enable, or otherwise support the transmission of mass
     unsolicited, commercial advertising or solicitations via e- mail, telephone,
     or facsimile; or (2) enable high volume, automated, electronic processes
     that apply to VeriSign (or its computer systems). The compilation,
     repackaging, dissemination or other use of this Data is expressly
     prohibited without the prior written consent of VeriSign. You agree not to
     use electronic processes that are automated and high- volume to access or
     query the Whois database except as reasonably necessary to register
     domain names or modify existing registrations. VeriSign reserves the right
     to restrict your access to the Whois database in its sole discretion to ensure
     operational stability. VeriSign may restrict or terminate your access to the
     Whois database for failure to abide by these terms of use. VeriSign
     reserves the right to modify these terms at any time.

     The Registry database contains ONLY .COM, .NET, .EDU domains and
     Registrars.

     ----------------------------------------------
     Extended data: whois.moniker.com
     ----------------------------------------------

     Moniker Whois Server Version 2.0

     The Data in Moniker's WHOIS database
     is provided for information purposes only, and is
     designed to assist persons in obtaining information
     related to domain name registration records.
     Moniker does not guarantee its accuracy.
     By submitting a WHOIS query, you agree that you
     will use this Data only for lawful purposes and
     that, under no circumstances will you use this Data
     to: (1) allow, enable, or otherwise support the
     transmission of mass unsolicited, commercial
     advertising or solicitations via e- mail (spam),
     telephone, or facsimile; or
     (2) enable high volume, automated, electronic
     processes that apply to Moniker (or its
     systems). Moniker reserves the right
     to modify these terms at any time. By submitting
                                       Case 3:11-cv-03040-MWB Document 14-11 Filed 11/10/11 Page 4 of 6
http://www.moniker.com/pub/Whois[11/9/2011 11:47:55 PM]
Domain Name Whois - Search – Moniker SnapNames

     this query, you agree to abide by this policy.

     The compilation, repackaging, dissemination or
     other use of this Data is expressly
     prohibited without the prior written consent
     of Moniker.

     Domain Name: DRTUBER.COM
     Registrar: MONIKER

     Registrant [3599639]:
     Igor Kovalchuk AtomicDucat@gmail.com
     ERA TECHNOLOGIES LTD
     RG Hodge Plaza Wickhams Cay Road Town
     Tortola
     na
     000
     VG



     Administrative Contact [3599639]:
     Igor Kovalchuk AtomicDucat@gmail.com
     ERA TECHNOLOGIES LTD
     RG Hodge Plaza Wickhams Cay Road Town
     Tortola
     na
     000
     VG
     Phone: +7.9214153469



     Billing Contact [3599639]:
     Igor Kovalchuk AtomicDucat@gmail.com
     ERA TECHNOLOGIES LTD
     RG Hodge Plaza Wickhams Cay Road Town
     Tortola
     na
     000
     VG
     Phone: +7.9214153469



     Technical Contact [3599639]:
     Igor Kovalchuk AtomicDucat@gmail.com
     ERA TECHNOLOGIES LTD
     RG Hodge Plaza Wickhams Cay Road Town
     Tortola
     na
     000
     VG
     Phone: +7.9214153469



     Domain servers in listed order:

     NS1.DRTUBER.COM 88.85.73.140
     NS2.DRTUBER.COM 94.198.241.76
     NS3.DRTUBER.COM 94.198.240.224

     Record created on: 2011- 06- 02 02:24:44.413
     Database last updated on: 2011- 10- 28 09:05:21.49
     Domain Expires on: 2014- 08- 06 06:35:22.0




     Our Whois Domain Name Search lets the public lookup the owner (the “registrant”) of a particular domain name as well as other information about the domain name.
     Some of the Whois information is maintained by Moniker (the “domain registrar”) and some is maintained by the “domain registry”. Access to Moniker’s Whois
     information is for informational purposes only. Moniker makes Whois domain name information available “as is,” and does not guarantee its accuracy. The compilation,
     repackaging, dissemination or other use of Moniker’s Whois information in its entirety, or a substantial portion thereof, is expressly prohibited without the prior written
     consent of Moniker Online Services, LLC. By accessing and using our Whois Domain Name Search, you agree to these terms.

     To use Whois Domain Name Search for domain availability, simply type in the domain name you are looking for. This domain name must be a second-level domain, for
     example “yourdomain.com”.

     If for some reason, the domain name you're searching for is not available, and you wish to purchase the domain name from the owner, please place a bid on the
     domain by sending an email with the domain and bid amount to bid@domainsystems.com.

     You can contact Moniker toll free at 1-800-688-6311 or go to http://support.oversee.net/ for more information on our domain name after market services.




      About Us             Legal                 Contact                Like us on Facebook
      Partners             Privacy Policy        Support
                                                                        Follow us on Twitter
      Affiliates           Site Map              Resellers


                                          All site contents (c) 2005-2010, Moniker Online Services, LLC. Moniker is a subsidiary of Oversee.net. All rights reserved.




                                       Case 3:11-cv-03040-MWB Document 14-11 Filed 11/10/11 Page 5 of 6
http://www.moniker.com/pub/Whois[11/9/2011 11:47:55 PM]
                laterim DesipadoD of AgeD I to Recek'e Notificalion
                            of Claimed Infrinlement


'.11 IApI Name orSenice Pro"....: ERA TECHNOLOGIES lTD
                                                    _ _ _ _ _ __


Altel'lllldft N"e(I' .rService Pnnider (ba~ludia& aD . . . a uder wllkb tile scniee
provider is de. . bIII__): DrTuber. www.dnuber.com.dnuber.com



Addn:ss of Xrvice Provider: ItO HodIC Plaza Wickbams Cay Rotid Town. Tonola 8Vl

NaIR' of Ape. Detlpated to Reeeive
Notiftcadoa or Clai...... IDfrIIIIement: Constantin LUf.:huln . _ _ _ _ _ _ __

Fal Address orDafpated Apat tD wbich Notiftcalioo Slaould be Sent II '-.0 tw.
..,r similar de$ijJ\DIlon Is noc ~o exoerc whcrr il it. the unly adctr\\!1~ tholl' ,lin I'ICI used in the aeosraphtc

~¥4'~ Fcdmll         "wy.. SuIte 240. Fort Lauderdale. Fl 33304
                                                  W~,··,                 •




Telepboar Number of Dalpated Alent: (9~4) 773 8743

Faaiaik Nu.ber of Deslpa'" Apat:_t9_S4_'_4_14_U8_6S_ _ _ _ _ _ _ __

Email AddreaofDeaipatedApnl:_OO_P;......y_ri...;;..gh_t@...:..(lW_"_u_be_f_.c_OOl
                                                                               _ _ _ _ _ _ __

                                                                  ignating Service Pro"'ider
                                                                  Oate: _9/_1_2'_20_1_1_ _ _ _ _ __

Typed or Printed Name and Title: Ilor DUtDIO\', Ma.~ager



NOIe: nillacerim Dellpation M..c be Accompanied by a FIIIDg Fer'
Made rlyable 10 .bc Reabter or Copynpts.
*NOk: Currn. aact adJ_ceel ..... are a"aila" OD dw CDpyriPt weblite a.
www.eopyriPt.aov/doalfees.lt. ..
Mail the form 10:
Copyria't .ARIRccontacloa
P.O. Ben 11m                                                      1643~22\
WMIaI-atOil. DC 20024
                                                                                                               Received
                                                             16435221

                                                                                                               ~FP 27   2m'
   Case 3:11-cv-03040-MWB Document 14-11 Filed 11/10/11 Page Copyright
                                                             6 of 6    Office
